  Case 2:06-cr-20050-KHV            Document 297         Filed 02/19/09      Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                    Crim No. 06-20050-02-KHV
                                     )
v.                                   )
                                     )                    Civil No. 08-2491-KHV
JOSE J. ALVARADO-VALENCIA,           )
                                     )
               Defendant.            )
_____________________________________)

                                  MEMORANDUM AND ORDER

       On March 31, 2006, a grand jury indicted defendant for conspiracy to distribute and possess

with intent to distribute five kilograms or more of cocaine (Count 1), possession with intent to distribute

cocaine and cocaine base (Counts 2-3, 5, 7), attempt to possess with intent to distribute more than

500 grams of cocaine (Count 4), possession of a firearm by an illegal alien (Count 6), use of a

communication facility to facilitate the conspiracy (Count 8) and use and maintenance of a residence

for the purpose of distributing cocaine (Count 15). See Sealed Indictment (Doc. #1). Without a plea

agreement, defendant pled guilty to all counts. On August 20, 2007, the Court sentenced defendant to

280 months in prison. On October 28, 2008, the Court overruled defendant’s motion under 28 U.S.C.

§ 2255. See Memorandum And Order (Doc. #282). On January 6, 2009, the Court overruled

defendant’s motion to reconsider. See Memorandum And Order (Doc. #286). This matter is before

the Court on Pro Se Petitioner’s Petition Requesting A Certificate Of Appealability (Doc. #296) filed

February 17, 2009. For reasons stated below, the Court overrules defendant’s motion.

       The denial of a Section 2255 motion is not appealable unless the circuit justice or a circuit or

district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).

“A certificate of appealability may issue . . . only if the applicant has made a substantial showing of the
  Case 2:06-cr-20050-KHV           Document 297           Filed 02/19/09     Page 2 of 2




denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To satisfy this standard, the movant must

demonstrate that his motion raises issues that are debatable among jurists, that a court could resolve the

issues differently, or that the questions deserve further proceedings. See Slack v. McDaniel, 529 U.S.

473, 483-84 (2000); United States v. Sistrunk, 111 F.3d 91, 91 (10th Cir. 1997). For reasons stated in

the Court’s prior orders, see Memorandum And Order (Doc. #282) and Memorandum And Order (Doc.

#286), the Court finds that defendant has not made a substantial showing of the denial of a

constitutional right.

        IT IS THEREFORE ORDERED that Pro Se Petitioner’s Petition Requesting A Certificate

Of Appealability (Doc. #296) filed February 17, 2009 be and hereby is OVERRULED.

        Dated this 19th day of February, 2009, at Kansas City, Kansas.

                                                         s/ Kathryn H. Vratil
                                                         KATHRYN H. VRATIL
                                                         United States District Judge




                                                   -2-
